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                                 No. 24-60231

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


Airlines for America; Alaska Airlines, Incorporated; American Airlines, Incorporated;
  Delta Air Lines, Incorporated; Hawaiian Airlines, Incorporated; Jetblue Airways
    Corporation; United Airlines, Incorporated; National Air Carrier Association;
                       International Air Transport Association,
                                                         Petitioners,
                                          v.
                           Department of Transportation,
                                                         Respondent
                                 consolidated with
                                  No. 24-60373
                            Spirit Airlines, Incorporated,
                                                         Petitioner,
                                          v.
                    United States Department of Transportation,
                                                         Respondent.

          On Petition for Review from the Department of Transportation,
                               89 Fed. Reg. 34,620

             RESPONDENT’S REPLY IN SUPPORT OF MOTION
                     TO CONSOLIDATE BRIEFS

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             CERTIFICATE OF INTERESTED PERSONS

     A certificate of interested persons is not required, as respondent is a

governmental party. 5th Cir. R. 28.2.1.
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      Petitioners in No. 24-60231 (Airlines for America petitioners) oppose

consolidation of petitioners’ and intervenor’s briefing, but their response

demonstrates why all petitioners and the intervenor should be required to

file a single, joint brief not exceeding 13,000 words and a single, joint reply

brief not exceeding 6,500 words. And they agree that, if this Court denies

that request, respondent should be permitted to file a single, consolidated

response brief equal to the total number of words allotted to all the opening

briefs.

      1.       Respondent explained that petitioners and intervenor in this

consolidated case all challenge the same rule, Enhancing Transparency of

Airline Ancillary Service Fees, 89 Fed. Reg. 34,620 (Apr. 30, 2024), and

should be required to file a single, joint brief because Spirit Airlines, Inc.

and Frontier Group Holdings, Inc. are already participating in the Airlines

for America litigation. See Mot. 2-4. As the Airlines for America petition-

ers previously stated, “Spirit and Frontier are already represented by the

National Air Carrier Association (NACA), one of the Airline petitioners in

Airlines for America.” Petitioners’ Letter at 3, Airlines for Am., No. 24-

60231 (July 29, 2024), Dkt. No. 60; see Special Appendix at SA123, Airlines

for Am., No. 24-60231 (June 14, 2024), Dkt. No. 37 (Spirit and Frontier

Joint Declaration); A4A Opp. 1 (Airlines for America petitioners stating


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that they “are working diligently, carefully, and collaboratively across stake-

holders to present the best arguments to the Court”).

      2.    The Airlines for America petitioners state that, even though

Spirit and Frontier are members of the National Air Carrier Association, all

three parties are “separate legal entities with distinct interests.” A4A Opp.

5. But those interests aligned when Spirit and Frontier submitted a Joint

Declaration as members of that organization in support of the Airlines for

America petitioners. And neither Spirit nor Frontier claimed in the Air-

lines for America litigation that “any interim or permanent relief the Court

might issue in Airlines for America would not apply to them despite their

named membership” in the National Air Carrier Association. Mot. 3. Spirit

and Frontier’s participation in the Airlines for America litigation rebuts

any claim that they should also be allowed to file separate briefs.

      3.    The Airlines for America petitioners do not object to respond-

ent’s alternative request that the government be given the same number of

words in its response brief as the total number of words allocated to all the

opening briefs. See A4A Opp. 6. As explained in our motion, respondent

respectfully requests that the word limit for its response brief equal the

number of words allocated to all petitioners and intervenor.




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                                       Respectfully submitted,

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August 2024
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                        CERTIFICATE OF SERVICE

     I hereby certify that on August 6, 2024, I electronically filed this reply

with the Clerk of the Court for the United States Court of Appeals for the

Fifth Circuit by using the appellate CM/ECF system.



                                          s/ Martin Totaro
                                          Martin Totaro
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                  CERTIFICATE OF COMPLIANCE

     This reply complies with the type-volume limit of Federal Rule of Ap-

pellate Procedure 27(d) because it contains 430 words. This response also

complies with the typeface and type-style requirements of Federal Rule of

Appellate Procedure 32(a)(5)-(6) because it was prepared using Word for

Microsoft 365 in Georgia 14-point font, a proportionally spaced typeface.



                                         s/ Martin Totaro
                                         Martin Totaro
